Case 1:17-cv-01486-VAC-CJB Document 12 Filed 03/09/18 Page 1 of 2 PageID #: 64




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF DELAWARE


 Marc Ganow,                                     Civil Action No. 1:17-cv-01486-UNA

                         Plaintiff,

                                                 NOTICE OF SETTLEMENT WITH
          – against–                             DEFENDANT BARCLAYS BANK
                                                 DELAWARE ONLY


 Barclays Bank Delaware and Trans Union,
 LLC,

                         Defendant(s).



                                NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that all matters herein have been compromised and settled as

between Plaintiff and Defendant, Barclays Bank Delaware.          Plaintiff intends on filing a

Stipulation of Dismissal with Prejudice and Proposed Order once the settlement is consummated.



                                      Respectfully submitted,

                                      s/ Antranig N. Garibian
                                      Antranig Garibian, Esq. (Bar No. 4962)
                                      Garibian Law Offices, P.C.
                                      1010 Bancroft Parkway, Suite 22
                                      Wilmington, DE 19805
                                      Telephone: 302-722-6885
                                      Email: ag@garibianlaw.com
                                      Counsel for Plaintiff
Case 1:17-cv-01486-VAC-CJB Document 12 Filed 03/09/18 Page 2 of 2 PageID #: 65




                                CERTIFICATE OF SERVICE

             I, Antranig Garibian, Esq., hereby certify that a copy of the Notice of Settlement
      between Plaintiff and Defendant, Barclays Bank Delaware, has been filed electronically.
      Notice of this filing will be sent to all parties by operation of the Court’s electronic filing
      system. Parties may access this filing through the Court’s electronic filing.



                                     Respectfully submitted,

                                     s/ Antranig N. Garibian____
                                     Antranig Garibian, Esq. (Bar No. 4962)
                                     Garibian Law Offices, P.C.
                                     1010 Bancroft Parkway, Suite 22
                                     Wilmington, DE 19805
                                     Telephone: 302-722-6885
                                     Email: ag@garibianlaw.com
                                     Counsel for Plaintiff
